Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 1 of 13




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   WARNER RECORDS INC., et al.,

          Plaintiffs,

   v.
                                                          Case No. 1:19-cv-00874-RBJ-MEH
   CHARTER COMMUNICATIONS, INC.,

          Defendant.



        CHARTER COMMUNICATION, INC.’S MOTION FOR LEAVE TO AMEND ITS
                      COUNTERCLAIMS ONE AND TWO

          Defendant Charter Communications, Inc. (“Charter”), by and through the undersigned

   counsel, hereby submits this Motion for Leave to Amend its Counterclaims One and Two pursuant

   to Federal Rule of Civil Procedure 15(a)(2) (“Motion”). As grounds for the Motion, Charter states

   as follows:

                 CERTIFICATION PURSUANT TO D.C. COLO. L. CIV. R. 7.1(A)

          Pursuant to D.C. Colo. L. Civ. R. 7.1(a), on June 24, 2020, counsel for Charter contacted

   counsel for Plaintiffs to notify Plaintiffs that Charter intended to amend its Counterclaims One and

   Two to narrow the time period to that in Plaintiffs’ First Amended Complaint and to further clarify

   that Charter’s Counterclaims One and Two were limited to the works Plaintiffs assert in their First

   Amended Complaint, although Charter disagreed with Plaintiffs’ stated position that Charter’s

   Counterclaims were “ambiguous” in that regard. Charter’s counsel also informed Plaintiffs that

   Charter would move to dismiss Plaintiffs’ counterclaims on the ground that they are not

   compulsory, unless Plaintiffs agreed to voluntarily dismiss them.

          In this correspondence, counsel for Charter sought Plaintiffs’ consent to amend Charter’s

   Counterclaims One and Two as described above, which Plaintiffs refused.               In this same
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 2 of 13




   correspondence, counsel for Charter also requested Plaintiffs dismiss their counterclaims, which

   Plaintiffs refused.

                                           INTRODUCTION

           Charter filed two declaratory judgment counterclaims asserting the non-infringement of

   Plaintiffs’ works in suit (one for no contributory infringement and another for no vicarious

   liability). Charter now seeks leave to amend these counterclaims to expressly limit the time period

   to Plaintiffs’ claim period (i.e., March 24, 2013 through May 17, 2016) in light of the advanced

   stage of the case and fact discovery, nearly all of which has been limited to the claim period or,

   alternatively, the discovery period (March 1, 2012 through May 17, 2016). Charter also seeks leave

   to amend to further clarify that its counterclaims are limited to the works Plaintiffs assert in their

   underlying action, in light of Plaintiffs’ position that Charter’s counterclaims are “ambiguous” on

   that front, although Charter disagrees that there is any ambiguity.

           Plaintiffs claim that Charter’s declaratory judgment counterclaims are ambiguous as to

   whether they are limited to the works in suit. Based on this purported ambiguity, a subset of

   Plaintiffs filed two counterclaims that they deem “compulsory” (the “Counterclaim Plaintiffs”). 1

   With them, the Counterclaim Plaintiffs seek to hold Charter liable for the alleged infringement of

   over 3,000 new works that were not pleaded in Plaintiffs’ underlying case through present.

   Because Charter’s declaratory relief counterclaims were specifically limited to the works in suit,

   Plaintiffs’ attempt to expand Charter’s potential exposure by $450 million is improper.

           Plaintiffs refused to consent to Charter’s proposed amendment necessitating this motion.

   For the reasons set forth herein, Charter respectfully requests the Court grant it leave to so amend.




   1
     Only the Universal Music Group Record Company Plaintiffs and the purported owners of the
   corresponding music compositions asserted counterclaims. See ECF 184, Countcls., ¶¶ 16, 17.

                                                     2
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 3 of 13




                  PROCEDURAL HISTORY AND FACTUAL BACKGROUND

   I.     Plaintiffs’ Complaint and First Amended Complaint

          On March 22, 2019, Plaintiffs filed their Original Complaint, alleging claims of

   contributory infringement and vicarious liability against Charter for the period March 24, 2013

   through May 17, 2016 (“Original Claim Period”) for 11,482 works. ECF 1. Pursuant to the Joint

   Scheduling Order, Plaintiffs’ deadline to join parties and amend their pleadings was November 1,

   2019 and Plaintiffs’ deadline to file amended exhibits to their complaint (in which Plaintiffs

   identified the “works in suit”) was January 15, 2020. ECF 44 at 10. On October 29, 2019, with

   Charter’s consent, Plaintiffs moved to amend the Joint Scheduling Order to allow Plaintiffs until

   January 6, 2020 to amend their pleadings, ECF 77, which the Court granted. ECF 79.

          On January 6, 2020, Plaintiffs moved for leave to file an amended complaint and add

   parties, ECF 109, and on January 15, 2020, Plaintiffs moved for leave to file amended exhibits to

   their proposed amended complaint. ECF 111. On February 13, 2020, the Court granted Plaintiffs’

   two motions, ECF 121 & 122, after which Plaintiffs filed their First Amended Complaint and

   amended exhibits. ECF 123. Plaintiffs did not change the time period of their claims, though they

   amended the number of works they are asserting by 455, from 11,482 to 11,027.

   II.    Charter’s Responses to Plaintiffs’ First Amended Complaint and Charter’s Original
          Counterclaims

          On February 28, 2020, Charter timely sought to dismiss Plaintiffs’ vicarious liability claim,

   which it had previously moved to dismiss from Plaintiffs’ Original Complaint. ECF 137. 2 On


   2
     On May 28, 2019, Charter first moved to dismiss Plaintiffs’ vicarious liability claim. ECF 38.
   On October 21, 2019, Judge Hegarty recommended denying that motion, ECF 71, to which Charter
   timely objected. ECF 81. Upon the filing of Plaintiffs’ First Amended Complaint, Charter’s first
   motion to dismiss was mooted to the extent it was directed at a pleading that was no longer
   operative. ECF 121 (granting Plaintiffs leave to amend and directing Charter to “file an answer or
   other response to the amended pleading in accordance with Fed. R. Civ. P. 15”). Thus, Charter
   sought to file a renewed motion to dismiss. ECF 137.
                                                   3
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 4 of 13




   March 4, 2020, the Court directed Charter to respond to Plaintiffs’ contributory liability claim,

   which was not subject to a pending motion to dismiss. ECF 141. On March 18, 2020, Charter

   timely responded, answering Plaintiffs’ contributory liability claim, asserting affirmative defenses

   thereto, and filing one counterclaim seeking a declaratory judgment that Charter is not liable for

   contributorily infringing the works Plaintiffs asserted in their First Amended Complaint and

   another counterclaim for Plaintiffs’ violation of 17 U.S.C. § 512(f) for knowingly sending false

   notices of alleged infringement (“Charter’s Original Counterclaims”). ECF 147.

          On April 7, 2020, the parties held a meet and confer during which Plaintiffs indicated that

   they would seek to move to strike certain of Charter’s affirmative defenses and move to dismiss

   both of its counterclaims. On April 8, 2020, Plaintiffs sought leave from the Court to move to

   dismiss Charter’s Original Counterclaims, ECF 156, to which Charter responded, noting that it

   anticipated amending its counterclaims to add a counterclaim pursuant to the Colorado Consumer

   Protection Act (“CCPA”). ECF 158 at n.1.

          On April 20, 2020, in response to the parties’ letters regarding Plaintiffs’ anticipated

   motion to dismiss, the Court held that “[i]t appears that a motion to dismiss the counterclaims is

   premature. Defendant apparently is contemplating amending its counterclaims.” ECF 161. The

   Court also held that it “does not require another exchange of letters prior to the filing of a Rule 12

   motion on the amended counterclaims, if such a motion is desired.” Id.

   III.   Charter’s First Amended Counterclaims

          On April 29, 2020, following the Court’s April 16, 2020 denial of Charter’s motion to

   dismiss Plaintiffs’ vicarious liability claim, ECF 159, Charter timely answered Plaintiffs’ vicarious

   liability claim, amended its answer to Plaintiffs’ contributory liability claim, amended its

   affirmative defenses to Plaintiffs’ First Amended Complaint (as contemplated, following the

   Court’s instruction, ECF 154, 160, and 161), amended its Original Counterclaims, and filed two
                                                     4
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 5 of 13




   additional counterclaims, one seeking a declaratory judgment that Charter is not vicariously liable

   for infringing the works Plaintiffs asserted in their First Amended Complaint and another asserting

   violation of the CCPA for knowingly sending false notices of alleged infringement (collectively,

   “Charter’s First Amended Counterclaims,” Charter’s two declaratory judgment counterclaims are

   separately referred to herein as “Charter’s Declaratory Judgment Counterclaims”). ECF 165

   (“Charter’s Countercl.”).

          As is clear from Charter’s pleadings, Charter limited each of its Declaratory Judgment

   Counterclaims to the works Plaintiffs assert in their First Amended Complaint: “For a Declaratory

   Judgment That Charter Is Not Liable for Contributory Infringement of Plaintiffs’ Works At Issue”

   and “For a Declaratory Judgment That Charter Is Not Liable for Vicarious Infringement of

   Plaintiffs’ Works At Issue.” Id. at 66, 67 (emphasis added); see also id., ¶ 127 (“Charter lacked

   the ability to verify Plaintiffs’ allegations of infringement”); ¶ 129 (“Charter lacked knowledge

   of any of the copyright infringement by others particularly claimed by Plaintiffs in this action);

   ¶ 130 (Charter lacked knowledge of any acts of copyright infringement by others generally claimed

   by Plaintiffs in this action); ¶ 151 (“Charter is entitled to a declaration that it is not vicariously

   liable to Plaintiffs, or any of them, on account of copyright infringement by others for the works

   in suit.”); ¶¶ 148-150 (emphasis added).

   IV.    Plaintiffs’ Counterclaims to Charter’s First Amended Counterclaims

          On May 18, 2020, Plaintiffs filed a stipulated motion for expedited relief seeking an

   extension of time from May 19, 2020 to June 15, 2020 to respond to Charter’s First Amended

   Counterclaims, ECF 177, which the Court granted. ECF 179. On June 15, 2020, Plaintiffs

   responded to Charter’s First Amended Counterclaims. ECF 184. Plaintiffs moved to dismiss

   Charter’s Counterclaims Three and Four, which assert violations of 17 U.S.C. § 512(f) and the

   CCPA, respectively, based on Plaintiffs’ act of sending false notices. Id. Plaintiffs answered
                                                     5
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 6 of 13




   Charter’s Declaratory Judgment Counterclaims. Id. The Counterclaim Plaintiffs also filed two

   counterclaims to Charter’s Declaratory Judgment Counterclaims, one for contributory

   infringement and the other for vicarious liability (“Plaintiffs’ Counterclaims”), which they alleged

   are “compulsory” because Charter’s Declaratory Judgment Counterclaims “are ambiguous

   whether they seek declarations of non-infringement only as to the works in suit in the underlying

   action or more broadly as to any of Plaintiffs’ copyrighted work,” id. at 64, n.4, and were not

   limited to the Original Claim Period. See id., ¶ 4. The Counterclaim Plaintiffs allege they sent

   Charter over 47,000 additional notices after the Original Claim Period (i.e., May 18, 2016 to

   present), which allegedly evidence the infringement of 3,017 works. Id., ¶ 7. Based on Charter’s

   analysis to date, nearly all of these 3,017 works are new works not asserted in Plaintiffs’ First

   Amended Complaint.

   V.     THE STATUS OF THE CASE

          In light of the scope of Plaintiffs’ First Amended Complaint, the complexity of both the

   legal and factual issues, particularly the technical issues related to Plaintiffs’ direct infringement

   case, and the numerous discovery disputes, Charter moved for a modification of the Scheduling

   Order to allow for more time for discovery. ECF 128. While Plaintiffs opposed the motion,

   Plaintiffs also proposed an extension to the case schedule. ECF 134. Judge Hegarty subsequently

   modified the schedule, setting the close of fact discovery for January 31, 2021, expert disclosures

   for June 1, 2021, dispositive motions for June 1, 2021, and a three-week jury trial starting October

   18, 2021. ECF 146 & 169. Neither of the parties’ respective positions, nor Judge Hegarty’s order,

   accounted for the potential expansion of Plaintiffs’ claims by the addition of more than 3,000 new

   works, which Plaintiffs allege were infringed through the present day (as opposed to the Original

   Claim Period of March 24, 2013 to May 17, 2016).



                                                     6
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 7 of 13




                                             ARGUMENT

   I.     LEGAL STANDARD

          Pursuant to Fed. R. Civ. P. 15(a)(2), a court “should freely give leave when justice so

   requires.” Fed. R. Civ. P. 15(a)(2). This Court “takes seriously the command of Rule 15(a)(2)

   that leave to amend should be freely given when justice so requires.” List Interactive, Ltd. v.

   Knights of Columbus, No. 17-CV-00210-RBJ, 2017 WL 4621277, at *3 (D. Colo. Oct. 13, 2017).

          Leave for amendment is particularly warranted where a party seeks only to clarify its

   pleadings—as opposed to adding new parties, claims, or otherwise broadening the scope of the

   litigation. See e.g., Miller v. Heil, No. 10-CV-02913-WYD-BNB, 2011 WL 3439736, at *1 (D.

   Colo. Aug. 5, 2011) (granting leave where defendant “does not ask to add parties or claims; instead,

   he seeks to clarify his existing claims … .”); Paquet v. Smith, No. 10-CV-00813-CMA-KMT, 2011

   WL 587333, at *1 (D. Colo. Feb. 9, 2011) (granting leave to amend “a single factual averment to

   clarify the time period related to the allegations in [defendant’s] [c]ounterclaims.”); Carriker v.

   ISS Facility Servs., Inc., No. 12-CV-02365-WJM-KLM, 2013 WL 5200254, at *2 (D. Colo. Sept.

   16, 2013) (“It is eminently reasonable to allow Plaintiffs to timely amend the Amended Complaint

   so as to clarify their allegations … Permitting such amendment will benefit both parties and the

   Court by clarifying the issues in the case.”). 3 The same is true where a party seeks to narrow its

   existing claims. See, e.g., Carefree/Scott Fetzer Co. v. Lippert Components, Inc., No. 11-CV-

   03019-WJM-KMT, 2012 WL 2412044, at *1 (D. Colo. June 26, 2012) (granting motion to amend

   where “[p]laintiff … seeks to amend its Complaint to narrow and clarify the issues for trial and



   3
     See also First Am. Mortg., Inc. v. First Home Builders of Fla., No. 10-CV-00824-REB-MEH,
   2010 WL 5230902, at *3 (D. Colo. Dec. 15, 2010) (“Thus, proposed amendments that seek to
   clarify or explain facts asserted in an original complaint are proper.”); Lopez v. Next Generation
   Constr. & Envtl., LLC, No. 16-CV-00076-CMA-KLM, 2017 WL 10311221, at *1 (D. Colo. Nov.
   13, 2017) (same).

                                                    7
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 8 of 13




   thereby seeks to remove one claim and refine the type of damages sought”) (internal quotation

   marks omitted).

          Accordingly, courts will generally only refuse amendment “upon a showing of undue

   delay, undue prejudice to the opposing party, bad faith or dilatory motive, failure to cure

   deficiencies by amendments previously allowed, or futility of amendment.” Williams v. Ocwen

   Loan Servicing LLC, No. 10-CV-01578-PAB-KLM, 2010 WL 3787112, at *1 (D. Colo. Sept. 20,

   2010) (citation omitted).

   II.    LEAVE TO AMEND IS WARRANTED HERE

          A.      Charter Intends to Both Clarify and Limit its Existing Pleadings with the
                  Proposed Second Amended Counterclaims

          Charter’s Declaratory Judgment Counterclaims are clearly limited to the works Plaintiffs

   assert in their First Amended Complaint. See Charter’s Countcl. at 66 (“For a Declaratory

   Judgment That Charter Is Not Liable for Contributory Infringement of Plaintiffs’ Works At

   Issue”); id. at 67 (“For a Declaratory Judgment That Charter Is Not Liable for Vicarious

   Infringement of Plaintiffs’ Works At Issue”); see also id., ¶¶ 127, 129, 130, 148-151. However,

   in order to resolve Plaintiffs’ alleged ambiguity, Charter seeks leave to amend its Declaratory

   Judgment Counterclaims, as proposed in Exhibit A attached hereto, in which Charter will further

   clarify that its Declaratory Judgment Counterclaims are limited to the works Plaintiffs assert in

   their First Amended Complaint.         See, e.g., Ex. A (Charter’s Proposed Second Amended

   Counterclaims), ¶¶ 129, 131-137.

          In addition, due to the advanced stage of the pleadings in this case, including discovery, 4

   Charter seeks leave to amend the time period of its Declaratory Judgment Counterclaims to


   4
    As outlined in detail above, see supra at 6, the parties are currently operating on Plaintiffs’ First
   Amended Complaint, which they filed after seeking an extension from November 1, 2019 to

                                                     8
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 9 of 13




   Plaintiffs’ Original Claim Period (i.e., March 24, 2013 through May 17, 2016). Charter seeks

   leave to do so by amending its allegations relating to its own actions so that they are limited to the

   Original Claim Period and by explicitly stating that it seeks declaratory judgments of non-

   infringement only for the Original Claim Period. See, e.g., id., ¶¶ 1, 12-15, 22-29, 123-137, 138-

   146, 151.

          As in the cases cited above, leave for amendment is warranted here because Charter’s

   amendments are aimed at clarifying and limiting allegations, rather than expanding the case by

   adding parties, claims, or extending the time periods at issue. See, e.g., Miller, No. 10-CV-02913-

   WYD-BNB, 2011 WL 3439736, at *1; Paquet, No. 10-CV-00813-CMA-KMT, 2011 WL 587333,

   at *1; Carriker, Inc., No. 12-CV-02365-WJM-KLM, 2013 WL 5200254, at *2.                     Charter’s

   proposed amendments will obviate the need to conduct discovery on the scope of Charter’s

   Declaratory Judgment Counterclaims and allow the parties to focus on the intended scope of their

   respective claims. Further, as in Carefree/Scott Fetzer Co., leave for amendment is warranted

   because Charter’s proposed amendments are separately aimed at narrowing the time period of its

   claims. No. 11-CV-03019-WJM-KMT, 2012 WL 2412044, at *1-*2.

          Charter’s proposed amendments are timely and limited to clarifying its Declaratory

   Judgment Counterclaims and, separately, narrowing the temporal scope of relief it seeks against

   Plaintiffs. For these reasons, and those discussed below, Charter respectfully requests the Court

   grant it leave to amend so as to clarify and narrow the issues for disposition on the merits.




   January 6, 2020. With Plaintiffs’ First Amended Complaint, Plaintiffs are suing Charter for the
   secondary infringement of 11,027 works, exposing Charter to in excess of $1.6 billion in statutory
   damages, should Plaintiffs establish liability. The parties are on their respective third sets of
   written discovery requests and have litigated numerous discovery disputes before both Judge
   Hegarty and now Special Master Rodriguez. Charter also expects to begin depositions shortly.

                                                     9
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 10 of 13




           B.      Charter Has Not Unduly Delayed its Proposed Amendment, Nor Is There Any
                   Undue Prejudice to Plaintiffs from Charter’s Proposed Amendment

           Charter did not delay in seeking amendment. At no point prior to filing their Counterclaims

    did Plaintiffs seek clarification from Charter as to whether Charter’s Declaratory Judgment

    Counterclaims were limited to the works in suit. Instead, the June 15, 2020 filing of Plaintiffs’

    Counterclaims was the first indication to Charter that Plaintiffs viewed Charter’s Declaratory

    Judgment Counterclaims as “ambiguous.”          On June 24, 2020, Charter promptly requested

    Plaintiffs consent to the filing of amended counterclaims, which Plaintiffs refused on June 26,

    2020. Charter filed the instant motion five business days later.

           Further, there is no prejudice to Plaintiffs in allowing Charter amend its counterclaims to

    clarify that they are restricted to the works asserted in the First Amended Complaint and during

    the Original Claim Period. As discussed above, Charter’s proposed amendments will obviate the

    need for discovery concerning the intended scope of Charter’s counterclaims. Charter’s proposed

    amendments may also limit the parties’ need to seek new, Post-Original Claim Period discovery.

    In addition, as in Carefree/Scott Fetzer Co., Charter has narrowed its claims against Plaintiffs,

    which poses no prejudice to Plaintiffs. See No. 11-CV-03019-WJM-KMT, 2012 WL 2412044, at

    *1 (finding that “to the extent Plaintiff wishes to narrow or simplify the issues for trial, the

    amendments are not improper”) (internal quotation marks and citations omitted).

           Plaintiffs may claim that Charter’s proposed amendments prejudices them because upon

    Charter’s proposed amendment, Plaintiffs’ Counterclaims may no longer be deemed compulsory

    and, therefore, the Counterclaim Plaintiffs would be unable to assert the infringement of over 3,000

    new works through the present against Charter. However, as demonstrated above, Charter’s

    Declaratory Judgment Counterclaims were clearly limited to the specific works Plaintiffs assert in

    their First Amended Complaint, see supra at 5, so, at most, Plaintiffs’ Counterclaims should have


                                                    10
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 11 of 13




    been limited to the alleged infringement of the original works in suit by Charter’s subscribers after

    the Original Claim Period. 5 However, without first seeking clarification, Plaintiffs broadly (and

    untenably) interpreted Charter’s Declaratory Judgment Counterclaims in an effort to assert

    expansive purported “compulsory counterclaims,” to increase their claims in this case by $450

    million.

            Further, had Plaintiffs desired to assert these new claims against Charter, they should have

    done so before their deadline to amend their claims, which passed seven months ago. But Plaintiffs

    never moved to amend the Scheduling Order to seek leave to further amend their claims. See Old

    Town Indus., Inc. v. Ryan, Case No. 09-CV-02587-WDM-DW, 2010 WL 2757352, at *2 (D. Colo.

    July 12, 2010) (granting motion to strike counterclaims-in-reply where “Plaintiff failed to [amend

    its complaint] within the time limit set by [the] Magistrate[.]”). Indeed, had Plaintiffs sought leave

    to do so, Charter would have opposed such an effort to significantly expand the scope of the case

    at such a late stage. 6


    5
      To the extent Plaintiffs merely extended the period of time during which the works they assert in
    their First Amended Complaint were infringed, Plaintiffs would not be entitled to any additional
    awards of statutory damages, as the Copyright Act limits the number of awards to the works in
    suit—not to the number of times they have been infringed. See 17 U.S.C. § 504(c) “[T]he
    copyright owner may elect, at any time before final judgment is rendered, to recover, instead of
    actual damages and profits, an award of statutory damages for all infringements involved in the
    action, with respect to any one work ….”) (emphasis added); see also Harrington v. Aerogelic
    Ballooning, LLC, No. 18-CV-02023-MSK-NYW, 2019 WL 2613334, at *3 (D. Colo. Apr. 25,
    2019), report and recommendation adopted in part, No. 18-CV-02023-MSK-NYW, 2019 WL
    5095683 (D. Colo. Aug. 8, 2019) (“Put another way, ‘[a] single infringer of a single work is liable
    for a single amount [], no matter how many acts of infringement are involved in the action and
    regardless of whether the acts were separate, isolated, or occurred in a related series.”) (quoting
    Melville B. Nimmer et al., NIMMER ON COPYRIGHT, 14-135 § 14.04[E][2][a][i] (quoting H.
    Rep. p. 162 and 17 U.S.C. § 504(c)(1))) (internal citations omitted).
    6
       On July 6, 2020, Charter sought leave to dismiss and/or strike so much of Plaintiffs’
    Counterclaims that pertain to new works not asserted in Plaintiffs’ First Amended Complaint and,
    further, dismiss and/strike the balance as not compulsory counterclaims, which improperly exceed
    the scope of Plaintiffs’ First Amended Complaint well outside the time for such amendments and
    without leave from the Court.

                                                     11
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 12 of 13




                                            CONCLUSION

           Based on the foregoing, Charter respectfully requests the Court grant its motion for leave

    to amend its Declaratory Judgment Counterclaims, as proposed in Exhibit A, amendments that

    seek only to limit and clarify the scope of Charter’s Declaratory Judgment Counterclaims in order

    to resolve any claimed ambiguity.


    Dated: July 6, 2020                         Respectfully submitted,

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                                                   12
Case 1:19-cv-00874-RBJ-MEH Document 192 Filed 07/06/20 USDC Colorado Page 13 of 13




                                      CERTIFICATE OF SERVICE

            I certify that on July 6, 2020, I caused a true and correct copy of the foregoing document

    to be electronically filed with the Clerk of the Court via CM/ECF, which will send a notice of

    electronic filing to all counsel of record.


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